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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA,
                                                            Criminal Action No.: 09-601 (JLL)
                     Plaintiff,

  v.
                                                                        ORDER
  JUAN CARLOS DONE, et al.,

                     Defendants.

LINARES, District Judge.

        This matter comes before the Court on Defendant Juan Done’s motions to dismiss,

Defendants Juan and Enrique Done’s Motion for severance and Defendants’ pretrial omnibus

motion. The Court has considered the submissions of the parties and the arguments made by

counsel before the Court on August 15, 2011. For the reasons state in this Court’s corresponding

Opinion and on the record at oral argument,

        IT IS on this 1st day of September, 2011,

        ORDERED that trial will begin in this matter on November 7, 2011 at 9:30 A.M.; and it

is further

        ORDERED that the Government will turn over any 404(b) materials to Defendants as it

becomes aware of them and no later than 20 days before trial begins; and it is further

        ORDERED that Defendants’ request for Jencks, Brady, and Giglio materials is denied as

moot at this time. The Government shall provide these materials to Defendants as they become

available and in a timely fashion; and it is further

        ORDERED that counsel for the parties shall meet and confer regarding drafting a
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protective order for the cooperating witnesses. If the parties cannot resolve this dispute, the

parties shall request a conference with the Court immediately; and it is further

          ORDERED that Defendant’s motion for a bill of particulars is DENIED; and it is further

          ORDERED that Defendant’s request for a pre-trial James hearing is DENIED; and it is

further

          ORDERED that Defendant’s pro se motion to dismiss Count Three of the Indictment is

DENIED; and it is further

          ORDERED that Count One of the Indictment as it pertains to Juan Carlos Done is

hereby dismissed without prejudice; and it is further

          ORDERED that Defendants’ motion for severance is DENIED.

          SO ORDERED.



                                                              /s/ Jose L. Linares
                                                              JOSE L. LINARES
                                                              U.S. DISTRICT JUDGE
